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Lead Attorneys for Plaintiffs


                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION


 JOHN KANE and MARY BOWERS,                         Case No.: 3:20-cv-01558-IM
 individually and on behalf of all similarly
 situated individuals,

                                Plaintiffs,

 v.                                                 NOTICE OF FILING CONSENTS TO
                                                    SUE PURSUANT TO 29 U.S.C. § 216(b)
 CONSUMER CELLULAR, INC,

                        Defendant.
______________________________________

       PLEASE TAKE NOTICE THAT attached hereto are Consents to Sue pursuant to 29

U.S.C. § 216(b), which are to be filed with the Clerk of the Court as of the date hereof on the

following individuals:

       1. Renee Redinger;

       2. Cesar Rincon;

       3. Hugh Lee;



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       4. Diana Geary

       5. Keda Jeffrey; and

       6. Nichole Deininger

Dated: September 30, 2020             Respectfully submitted,

                                      /s/Jacob R. Rusch
                                      Jacob R. Rusch (MN Bar No. 0391892)
                                      Admitted pro hac vice
                                      Timothy J. Becker (MN Bar No. 0256663)
                                      Pro hac vice to be filed
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